CALIFORNIA WHARF AND WAREHOUSE COMPANY, PETITIONER, v. COMMISSIONER OF INTERNAL REVENUE, RESPONDENT.  INTERIOR WAREHOUSE COMPANY, PETITIONER, v. COMMISSIONER OF INTERNAL REVENUE, RESPONDENT.  CROWN MILLS, PETITIONER, v. COMMISSIONER OF INTERNAL REVENUE, RESPONDENT.  NORTHERN WHARF AND WAREHOUSE COMPANY, PETITIONER, v. COMMISSIONER OF INTERNAL REVENUE, RESPONDENT.California Wharf &amp; Warehouse Co. v. CommissionerDocket Nos. 41770, 41820-41822, 51797-51800.United States Board of Tax Appeals28 B.T.A. 509; 1933 BTA LEXIS 1115; June 22, 1933, Promulgated *1115  1.  Certain affiliated corporations each sustained net losses in three successive years and the combined net losses in the first and second years exceeded the combined net incomes of the other affiliates for those years.  Held, such net losses may not be added together and allowed as a consolidated net loss deduction in computing consolidated net income of the entire group for 1924.  2.  Consolidated net losses determined.  Henry D. Costigan, Esq., for the petitioners.  Eugene Harpole, Esq., for the respondent.  MARQUETTE *509  Findings of fact and opinion were promulgated in these proceedings on April 20, 1933, and by order dated June 7, 1933, they were recalled for further consideration.  The following findings of fact and opinion will supersede the promulgation of April 20, 1933.  These proceedings, which were consolidated for hearing, are for the redetermination of deficiencies in income tax, asserted by the respondent as follows: 19241927California Wharf &amp; Warehouse Co$4,707.29$2,817.42Interior Warehouse Co342.00713.91Crown Mills18,553.967,373.11Northern Wharf &amp; Warehouse Co932.703,324.70*1116  The errors assigned are: (1) Disallowance of a deduction in determining consolidated net income of petitioners and affiliates for 1924, of the sum of $136,970.30, which was a net loss in 1922, a net loss also having been sustained in 1923; (2) disallowance of deductions, in determining consolidated net income of petitioners and affiliates for 1927, of the sums of $211,683.89 and $13,814.45, which were consolidated net losses for 1925 and 1926, respectively.  *510  The respondent filed amended answers in dockets numbered 41770, 41820, 41821, and 41822, alleging that he had erroneously allowed a net loss deduction for 1924 in the amount of $12,436.79, which was the total consolidated net loss for 1923, whereas the loss properly allowable amounts to $4,867.64, only.  He asks that additional deficiencies be determined and allowed on that basis.  FINDINGS OF FACT.  Balfour, Guthrie &amp; Co. was a partnership extensively engaged in merchandising.  It wished to engage in other business enterprises and for convenience in so doing it organized nine corporations, including each of the petitioners.  All of the capital stock of each corporation was owned by the partnership during the*1117  year 1922.  At or about the close of the year 1922, two of the corporations, Fife Shipping Co. and Irving Dock Co., were dissolved.  The business of the former was discontinued.  The business and properties of the Irving Dock Co. were transferred to the petitioner, Northern Wharf &amp; Warehouse Co.  The nine companies were affiliated during the year 1922.  Excepting the two companies which were dissolved, the affiliation continued during the years 1923 to 1927, both inclusive, and the partnership owned all of the corporate stocks during those years.  For the year 1922 the nine affiliates filed a consolidated income tax return.  For each of the years 1923 to 1927, inclusive, the then remaining seven affiliates filed a consolidated return.  The net incomes and losses of the affiliates for the years 1922 to 1924, inclusive, were as follows: 19221923Net incomeNet lossNet incomeNet lossCrown Mills$93,440.23$1,164.64Northern Wharf4,700.6114,115.30&amp; Warehouse Co.Interior Warehouse5,840.105,372.04Co.California, Wharf &amp; 5,688.64$12,950.63Warehouse Co.Irving Dock Co6,374.08Balfour, Guthrie$25,309.128,322.85Investment Co.(Div.)(267.75)Balfour, Guthrie6,884.29748.37Trust Co(Div.)(200.00)Strathmore Land Co15,151.7311,716.02(Div.)(181.35)Fife Shipping Co206,225.82116,043.66253,570.9620,651.9833,088.77Add: Dividends557.00116,600.66Consolidated 136,970.3012,436.79(RAR)net loss253,570.96253,570.9633,088.7733,088.77*1118 1924Net incomeNet lossCrown Mills$272,325.78Northern Wharf 13,846.07&amp; Warehouse Co.Interior Warehouse 5,086.10Co.California, Wharf 49,722.67&amp; Warehouse Co.Irving Dock CoBalfour, Guthrie$56,330.96Investment Co.Balfour, Guthrie7,335.84Trust Co.Strathmore Land Co3,509.42Fife Shipping Co340,980.6267,176.22Add: DividendsConsolidated net(Income)273,804.40loss340,980.62340,980.62*511  In their consolidated return for 1924, the seven affiliated companies, including the petitioners, deducted the net loss of $136,970.30 sustained in 1922 by the affiliated group.  They also deducted the net loss of $12,436.79 sustained in 1923 by the affiliated group.  Respondent disallowed entirely the deduction for loss in 1922.  In respect of the loss sustained in 1923, respondent at first allowed it, but now contends that it should be computed by taking that proportion of $12,436.79, the consolidated net loss, which the net loss of the California Wharf &amp; Warehouse Co., namely, $12,950.53, bears to the total net losses of individual affiliates, namely, $33,088.77.  By that computation*1119  he derives $4,867.64 as the deductible consolidated net loss for 1924.  The net incomes and losses of the affiliates for the years 1925 to 1927, inclusive, were as follows: 19251926Net incomeNet lossNet incomeNet lossCrown Mills$146,802.31$35,794.87California Wharf$4,582.36884.16&amp; Warehouse Co.Northern Wharf13,093.0226,367.14&amp; Warehouse Co.Interior Warehouse Co5,813.046,360.61Strathmore Land Co6,290.52$10,166.18Balfour, Guthrie49,904.0726,974.71Trust Co.Balfour, Guthrie44,757.35100,029.76Investment Co.29,779.84241,463.7396,381.49110,195.94Consolidated net loss211,683.8913,814.45241,463.73241,463.73110,195.94110,195.941927Net incomeNet lossCrown Mills$146,802.31California Wharf $4,582.36&amp; Warehouse Co.Northern Wharf 13,093.02&amp; Warehouse Co.Interiro Warehouse Co5,813.04Strathmore Land Co6,290.52Balfour, Guthrie49,904.07Trust Co.Balfour, Guthrie44,757.35Investment Co29,779.84241,463.73Consolidated net loss211,683.89241,463.73241,463.73*1120  Dividends received by the affiliated group from domestic corporations amounted to $525 in 1925 and to $140 in 1926.  In the consolidated return filed by the affiliates for the year 1927, the aggregate amounts of consolidated net losses for 1925 and 1926 were deducted.  Respondent reduced the total amount of said deductions to $128,697.11.  In determining deductible amounts, respondent first allocated consolidated net losses for 1925 and 1926 to the companies which suffered individual losses during those years, as follows: Net loss19251926The Balfour, Guthrie Investment Co$39,237.40$12,539.99Balfour, Guthrie Trust Co43,749.38Crown Mills128,697.11Strathmore Land Co1,274.46211,683.8913,814.45*512  Respondent next allocated consolidated net income for 1927 to the companies having individual gains for that year, with the following result: Net incomeCrown Mills$183,312.71California Wharf &amp; Warehouse Co20,869.80Northern Wharf &amp; Warehouse Co24,627.43Interior Warehouse Co5,288.22234,098.16The final adjustments of 1927 consolidated net income and income tax allocable to petitioners, *1121  as fixed by respondent, were: CompanyAllocated Prior years'Net TaxincomeallocatedtaxablelossincomeCrown Mills$183,312.71$128,697.11$54,615.60$7,373.11Northern Wharf &amp; 24,627.4324,627.433,324.70Warehouse Co.Interior Warehouse Co5,288.225,288.22713.91California Wharf 20,869.8020,869.802,817.42&amp; Warehouse Co234,098.16128,697.11105,401.0514,299.14Each of the affiliated companies was at all times controlled and managed, and its directors and officers chosen, by the partnership of Balfour, Guthrie &amp; Co.  None of the corporations maintained its own office, all corporation affairs being handled entirely in the offices of the partnership.  The partners, and in some cases managers of departments of the firm's business, were the directors of the various companies.  OPINION.  MARQUETTE: The affiliated group of which the petitioners were members sustained consolidated net losses in 1922 and 1923 and again in 1925 and 1926.  The group had a consolidated net income in 1924 and also in 1927.  The fact of affiliation, and the propriety of filing consolidated returns, is admitted.  The*1122  only question before us is what portion of the net losses sustained in 1922 and 1923 and in 1925 and 1926 may be deducted in computing taxable net income for 1924 and 1927, respectively.  It is the petitioner's contention that the consolidated net losses of 1922 and 1923 and of 1925 and 1926 are deductible in computing taxable net income for 1924 and 1927, respectively.  This contention is disposed of adversely to the petitioners, upon authority of Woolford Realty Co. v. Rose,286 U.S. 319; Planters Cotton Oil Co. v. Hopkins,286 U.S. 332; Swift &amp; Co. v. United States, 38 Fed.(2d) 365; Delaware &amp; Hudson Co.,26 B.T.A. 520; and New Castle Leather Co.,26 B.T.A. 282. *513  Computing the amounts thereof in accordance with the principles laid down in Swift &amp; Co. v. United States, supra, and Delaware &amp; Hudson Co., supra, the following are the unabsorbed net losses for the years 1922 to 1927, inclusive, of those members of the affiliated group which sustained net losses in those years: 19231924192519261927Balfour,$13,671.11$3,027.60None$40,041.01$69,518.73NoneGuthrie In-vestment Co.Balfour, 3,718.66206.11None44,645.40NoneNoneGuthrie TrustCo.Strathmore8,184.444,335.44NoneNone7,065.30NoneLand Co.Fife Shipping 111,396.09OutOutOutOutOutCo.CaliforniaNone4,867.64NoneNoneNoneNoneWharf &amp; Warehouse Co.Crown MillsNoneNoneNone131,332.92NoneNone*1123  It will be noted from the above statement and the statements of net income and net losses set forth in the findings of fact that, of the four companies which had unabsorbed net losses for 1922, three sustained net losses in 1924, while the fourth, the Fife Shipping Co., passed out of the affiliated group at the close of 1922.  Under the cited cases, therefore, the respondent correctly disallowed the deduction of the unabsorbed net losses of 1922 in computing taxable net income for 1924.  It will also be noted that three of the four companies which had unabsorbed net losses for 1923 also sustained net losses in 1924, while the fourth, the California Wharf &amp; Warehouse Co., had a net income in 1924.  The respondent, therefore, erred in allowing the deduction of the 1923 unabsorbed losses of the first three mentioned companies in computing taxable net income for 1924, and his prayer for increased deficiencies for that year, based upon the ground that he so erred, is allowed.  The total amount deductible in 1924 on account of 1923 losses is $4,867.64.  Of the three companies which had unabsorbed net losses for 1925, two, the Balfour,Guthrie Trust Co. and the Balfour, Guthrie Investment*1124  Co., also sustained net losses is 1927.  Therefore, the 1925 unabsorbed net losses of those two companies are not properly deductiable in computing 1927 taxable net income.  The third company, Crown Mills, had an unabsorbed 1925 net loss which is $95,538.08 in excess of its net income for 1926, and, since its net income for 1927 is greater than that amount, such excess is a proper deduction in computing taxable net income for 1927.  Both of the companies which had unabsorbed net losses for 1926 sustained net losses in 1927.  Consequently, the 1926 unabsorbed losses of those companies are not proper deductions in computing taxable net income for 1927.  Judgment will be entered under Rule 50.